           Case
AO 245B (Rev.        1:16-cr-00162-GBL
              09/11 )(VAED                             Document
                           rev. 2) Sheet I - Judgment in a Criminal Case54   Filed 07/14/17 Page 1 of 6 PageID# 571

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                                          UNITED STATES DISTRICT COURT
                                                     Eastern District of Virginia                             JUL I 4 2017
                                                            Alexandria Division
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UNITED STATES OF AMERICA
            V.                                                               Case Number: 1:16-CR-00162-001

Yusuf Abdirizak Wehelie                                                      USM Number: 90193-083
                                                                             Defendant's Attorney: Nina J. Ginsberg, Esquire
Defendant.


                                           JUDGMENT IN A CRIMINAL CASE
   The defendant pleaded guilty to Count 1 of the Indictment.

   Accordingly, the defendant is adjudicated guilty of the following counts involving the indicated offenses.

Title and Section                     Nature of Offense                              Offense Class         Offense Ended           Count

18 U.S.C. § 922(g)                    Felon in Possession of Firearms                Felony                02/18/2016              1


   As pronounced onJuly 14th, 2017, the defendant issentenced as provided in pages 2 through 6 ofthis Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

  It is ORDERED that the defendant shall notify the United States Attorney for this district within 30days ofany change
ofname, residence, or mailing address until all fines, restitution, costs, and special assessments imposed bythis judgment
are fully paid. If ordered to payrestitution, the defendant must notify the court andUnited States Attorney of material
changes in economic circumstances.

   Signed this 14th day of July, 2017.


                                                                                                     /s/
                                                                                  Gerald Bruce Lee
                                                                                  United States District Judge
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